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                                             HEARING DATE: MARCH 5, 2013 AT 10:00 A.M. EST
                                     OBJECTION DEADLINE: FEBRUARY 19, 2013 AT 4:00 P.M. EST



LOEB & LOEB LLP
Walter H. Curchack
Vadim J. Rubinstein
345 Park Avenue
New York, NY 10154
Telephone: (212) 407-4000
Facsimile: (212) 407-4990
Counsel for Wilmington Trust, N.A., as Indenture
Trustee for the Senior Unsecured Notes Issued by
Residential Capital, LLC



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                         X
                                                         :
In re
                                                         :          Chapter 11 Case No.
                                                         :
RESIDENTIAL CAPITAL, LLC, et al.,
                                                         :          12-12020 (MG)
                               Debtors.                  :
                                                         :          (Jointly Administered)
                                                         :
                                                         X

  DECLARATION OF WALTER H. CURCHACK IN SUPPORT OF THE OBJECTION
  OF WILMINGTON TRUST, NATIONAL ASSOCIATION TO THE MOTION OF AIG
 ASSET MANAGEMENT (U.S.), LLC, THE ALLSTATE ENTITIES, MASSACHUSETTS
  MUTUAL LIFE INSURANCE COMPANY, AND THE PRUDENTIAL ENTITIES FOR
   AN ORDER UNDER BANKRUPTCY RULE 3013 (i) CLASSIFYING RMBS FRAUD
 CLAIMS IN THE SAME CLASS AS THE SECURITIZATION TRUSTS’ CLAIMS FOR
 PURPOSES OF ANY CHAPTER 11 PLAN FOR THE DEBTORS AND (ii) DIRECTING
  THAT MISREPRESENTATION CLAIMS CANNOT BE PLACED IN A PLAN CLASS
  THAT WILL BE SUBORDINATED UNDER BANKRUPTCY CODE SECTION 510(b)


        WALTER H. CURCHACK declares as follows under penalty of perjury under the laws

of the United States of America that the following is true and correct:


        1.     I am a partner at the law firm of Loeb & Loeb LLP, counsel for Wilmington Trust,

National Association (the “Trustee”), solely in its capacity as indenture trustee for various series of
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senior unsecured notes issued by Residential Capital, LLC. I am admitted to practice before the

courts of the State of New York and the United States District Court for the Southern District of

New York. I make this declaration in support of the Trustee’s Objection to the Motion of AIG

Asset Management (U.S.), LLC, the AllState Entities, Massachusetts Mutual Life Insurance

Company, and the Prudential Entitles for an Order under Bankruptcy Rule 3013 (i) Classifying

RMBS Fraud Claims in the Same Class as the Securitization Trusts’ Claims for Purposes of any

Chapter 11 Plan for the Debtors and (ii) Directing that Misrepresentation Claims cannot be Placed

in a Plan Class that will be Subordinated Under Bankruptcy Code Section 510(b).

           2.    I am familiar with the facts and circumstances stated herein based on my

knowledge, information and belief, and would so testify if called as a witness that they are true and

correct.

           3.    True and correct copies of the following documents are attached as exhibits:

           EXHIBIT A: In re Washington Mutual, Inc. et al., Case. No. 08-12229 (MJW), Motion
                      of the Official Committee of Unsecured Creditors to Alter or Amend the
                      Court’s Opinion and Order Regarding Subordination of the Claim of
                      Tranquility Master Fund, Ltd., Docket No. 9301.

           EXHIBIT B: In re Washington Mutual, Inc. et al., Case. No. 08-12229 (MJW), Motion
                      of Debtor For An Order Pursuant To Section 105(A) Of The Bankruptcy
                      Code And Bankruptcy Rule 9019 Approving Stipulation And Agreement
                      Between The Debtors And Tranquility Master Fund, LTD. (A) Resolving
                      Amended Proof Of Claim Number 3925 And (B) Allowing Claims For
                      Voting Purposes

           EXHIBIT C: In re Washington Mutual, Inc. et al., Case. No. 08-12229 (MJW), Order
                      Pursuant to Section 105(A) of the Bankruptcy Code and Bankruptcy Rule
                      9019 Approving Stipulation and Agreement Between the Debtors and
                      Tranquility Master Fund, Ltd., Docket No. 9698.

           Executed this 19th day of February 2013 in New York, New York.



                                                              /s/ Walter H. Curchack_________
                                                              Walter H. Curchack
